Case 2:12-cv-00074-D-BR Document 17-5 Filed 12/28/12   Page 1 of 4 PageID 148




               Exhibit E
Case 2:12-cv-00074-D-BR Document 17-5 Filed 12/28/12                 Page 2 of 4 PageID 149




  STATE OF TEXAS
                                                            In re Travis Trevifio Runnels
  COUNTY OF DALLAS )


                          AFFIDAVIT OF LILLIE MAE TAYLOR


          LILLIE MAE TAYLOR, being first duly sworn, appeared before the undersigned
  authority duly designated to administer oaths and states as follows:

     1.    My name is Lillie Mae Taylor. I am over the age of 18 and otherwise competent to
           give this affidavit.

     2.    Travis Trevino Runnels is my grandson. Nancy Taylor is my daughter.

    3.     I was born and raised in South Dallas. I have lived here all of my life. I went to
           Booker Washington High School. In those days, Booker T. was an all black school.

    4.     I'm from the generation where blacks had to go to the back of bus. We couldn't drink
           from any of the public fountains, only the ones at school. If my friends and I went to
           a white restaurant and ordered food, we would have to stand outside and wait for it.

    5.    In the early 1900's, my grandfather, Allen Brooks, was lynched by a mob in
          downtown Dallas. My grandmother once told me something about my grandfather
          being dragged downtown by a mob of people. My grandfather was accused of
          molesting a white girl, but he was hanged before he ever went to trial.

    6.    When Travis was very young, maybe in elementary school, my brother, Horace
          Brooks, was killed by the police. Horace had health problems. It seemed like he lost
          his mind. The police shot Horace in the chest because they say he was chasing them
          with a boxcutter. They might have also said he had a gun, but Horace didn't have a
          gun.

    7.    Travis was not a bad kid. He just got into all kinds of trouble because he used to play
          around so much. He would run into things. He once ran into a fence outside of my
          house. He was running real hard, not looking where he was going, and he just ran
          into the fence and busted his lip.

    8.    Another time, Travis ran into a beehive. He got stung and his face got all swollen.
          One of his hands got swollen, too. It was so big. The only way I could describe it is
          it looked like a double-band. It used to make me laugh sometimes, the kind of things
          he got into.

   9.     Travis was a very playful child. He always liked to play and joke a lot. He could not
          stay in one place.
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        Case 2:12-cv-00074-D-BR Document 17-5 Filed 12/28/12                         Page 3 of 4 PageID 150


I       .
                  10.    Travis' grades were not too good in school. Travis was not too fond of school. I
                         don't remember him having many school friends when he was young. He was mostly
                         with his cousins.

                 11.     I sometimes thought that Travis did not really understand what I was talking about. I
                         would tell him something, and he would always say, "uh huh” or "yeah" but I don't
                         think he always understood.

                 12.     I think that Nancy paid more attention to Dannonica, Travis' older brother.
                         Darmonica has sickle cell anemia. He always got a lot of attention from both his
                         mother and father. Travis did not get along too well with his father, but his father
                         was also not around very much. I think Travis' father not being around, and
                         Dannonica getting a lot of attention, affected Travis.

                 13.    When Nancy was married to Tommy Keith Neal ("Keith"), that affected Travis, too.
                        Travis did not really like Keith because he would his on Travis' mom. Travis would
                        always come over to my house because he didn't like being around Keith. I let him
                        stay here. He would spend the night and my husband would take him to school in the
                        morning.

                 14.    Travis called the police on Keith once after Keith hit on Nancy. I think Nancy came

I                       to stay with me after that incident. Travis was so happy to have his mom around. But
                        then Nancy eventually moved out and got back with Keith. It made Travis very sad.

                 15.    Keith was just crazy. He served in the military, and I guess something happened to
                        him there because he used to get a monthly check from the government. It was what
                        we called a "crazy check." It was about $35 a month.

                16.     Whenever Travis misbehaved, I used to give him whoopings with a belt Travis'
                        grandfather would give him whoopings, too.

                17      I went to Travis' trial with Travis' mother and father. We got to the court, and we
                        waited and waited outside the courtroom. We spent the night in Amarillo and came
                        back to court the next day. No one ever called us to testify. One of the attorneys just
                        came out and told us the trial was over and that they wouldn't need us to testify.

                18.     I met Travis' attorney for the first time at Travis' trial. I never talked to anyone
                        before that. If anyone had interviewed me before Travis' trial, I would have told
                        them everything I have stated in this affidavit.

            I have read this affidavit and swear upon pain of penalty and perjury that it is true and correct.


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Case 2:12-cv-00074-D-BR Document 17-5 Filed 12/28/12                     Page 4 of 4 PageID 151




  Signed                                                   Date


                                    at.
  Signed and sworn before me this         day of September, 2007.



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                                                                              ALMA LAGAR DA
                                                                                 Notary Public
                                                                              STATE OF TEXAS
                                                                    OF        My Comm. Exp.:02-20-2011
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